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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *


v.                                             *      Criminal Case No. TDC-20-0033


PATRIK MATHEWS                                 *

*         *       *      *      *       *      *      *       *      *      *       *      *

               MOTION TO SUPPRESS TANGIBLE AND DERIVATIVE EVIDENCE
                 FROM TELEPHONE SEARCH AND TRACKING WARRANTS


          The defendant, Patrik Mathews, through his attorney Joseph A. Balter, hereby moves this

Honorable Court to issue a pre-trial ruling barring the government from admitting any tangible

and derivative evidence seized in connection with the execution of search and seizure warrants.

As grounds therefore, he states the following:

          1.      The defendant, Patrik Mathews, is charged with being an Alien in Possession of a

Firearm and Ammunition, in violation of 18 U.S.C. § 922(g)(5) and Transporting a Firearm and

Ammunition in Interstate Commerce with Intent to Commit a Felony, in violation of 18 U.S.C. §

924(b).

          2.      According to discovery materials, warrants were issued in connection with the

following searches:

                  a. Search and tracking warrants for Target Telephone 2 – the defendant’s phone:

                      IMEI number: 015416000447251 for phone numbers: (443) 941-4950 and

                      (912) 423-2846.

                  b. Search and tracking warrants for Target Telephone 3, believed to be the

                      defendant’s replacement phone assigned call number (410) 924-2225.
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               c. Defendant’s email accounts: snakepunished14@gmail.com (Target-3);

                   fuchmccock@gmail.com (Target-4); Jeremymiller138@gmail.com (Target-

                   5); Patrikmathews47@gmail.com (Target-15).

       3.      The defendant has standing to contest the search and seizure warrants. Rakas v.

Illinois, 439 U.S. 128 (1978).

       4.      The search warrants were issued in violation of the Fourth Amendment to the

United States Constitution, because the affidavits underlying the warrants did not establish

probable cause to believe evidence of the crimes named in the warrant application would be found.

See Doe v. Broderick, 225 F.3d 440, 451 (4th Cir. 2000) (“The fundamental constitutional principle

that search warrants must be founded upon probable cause derives from the language of the Fourth

Amendment itself, which provides that ‘no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.’”); Illinois v. Gates, 462 U.S. 213, 238-39 (1983) (officer seeking

issuance of search warrant must present affidavit containing facts sufficient to “provide the

magistrate with a substantial basis for determining the existence of probable cause”; probable

cause requirement demands that officers demonstrate “fair probability” that evidence of crime will

be found at particular place); Brinegar v. United States, 338 U.S. 160, 175 (1949) (probable cause

means “more than bare suspicion”).

       5.      Between October 22, 2019 and November 18, 2019, search warrants were

authorized to track the location of the defendant’s phone and email accounts and disclose all

provider information. Search Warrant Affidavit from 10-22-19 [hereinafter “Affidavit”] at ¶ 2.

The first of these warrant applications was from October 22, 2019, which covered the

defendant’s phone and email accounts: snakepunished14@gmail.com (Target-3);
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fuchmccock@gmail.com (Target-4); and Jeremymiller138@gmail.com (Target-5). Id. On

November 8, 2019, an application to renew these warrants was authorized based on the same

information from the original affidavit as pertaining to Mr. Mathews’ phone and email accounts.

On December 13, 2019, an application to renew the existing warrants was authorized as well as a

new warrant for the search of TE-15 - Patrikmathews47@gmail.com.

       The affidavits stated that “probable cause exists to believe that the requested warrants

will lead to evidence, fruits, and/or instrumentalities of violations of 18 U.S.C. § 2101 (Inciting a

Riot); 18 U.S.C. §§ 371 and 249 (Conspiracy to Commit and Attempt to Commit a Hate Crime);

21 U.S.C. § 841 (Distribution of Controlled Substances); and 8 U.S.C. § 1324 (Bringing in and

Harboring Certain Aliens) (collectively, the "TARGET OFFENSES"), that have been

committed, are being committed, or will be committed by BRIAN MARK LEMLEY, a/k/a

"Cantgoback" ("LEMLEY"), RINALDO NAZZARO("NAZZARO"), PATRIK MATHEWS

("MATHEWS"), WILLIAM GARFIELD BILBROUGH IV ("BILBROUGH"), and others.”

Affidavit at 4.

       The first section of the affidavits cover the background of the Base and Rinaldo Nazzaro

(“Norman Spear”). The affidavits describe the Base chat room and how certain members such as

“Rimbaud” expressed the general desire to commit violence in messages to the fifty-member

group chat. Affidavit at ¶ 18.d.i. “Rimbaud” and “Poilu” engaged in a specific conversation

supporting violence and acceleration. Affidavit at ¶ 18.d.ii. Additionally, the Affidavit discussed

Nazzaro’s Gab and Twitter accounts where he posted various extremist statements spanning back

to 2016. Affidavit at ¶ 20-21. The Affidavit went on to discuss the Base training camps and co-




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defendants, Lemley and Billbrough’s trip to Georgia to attend one of these events in which some

members took a controlled substance: Adderall. Affidavit at ¶ 31.

       The section of the Affidavit relating to Patrik Mathews and his phone and email accounts

(“Canadian member of the Base”) was short and failed to provide evidence that the search of Mr.

Mathews’ phone and email accounts was likely to provide evidence of the listed crimes in the

warrant application. Affidavit at ¶ 36-53. The Affidavit stated that on or about August 27, 2019,

the Canadian Aimed Forces relieved Mathews of duty as a result of a newspaper article exposing

him as a member of the Base. Affidavit at ¶ 36. Approximately one day later, Mathews was

reported missing to the RCMP. Affidavit at ¶ 37. On or about September 2, 2019, Mathews’

pickup truck was found abandoned in proximity of Piney, Manitoba, Canada, near the

Manitoba/Minnesota border with the United States. Id.

       Meanwhile, agents had already been tracking Brian Lemley’s phone (TT-1), which

allowed agents to obtain a Chesapeake Bay Bridge Tunnel photo and video footage from toll

lanes. Affidavit at ¶ 36. The photo and video footage obtained showed Lemley driving his

Chevrolet Colorado ZR2 traveling with a passenger who appeared to be Mathews. Id.

Additionally, cell tower location data identified Mathews’ TT-2 text messages routing through

his location in Macon, Georgia from September 12, 2019 through October 17, 2019, indicating

that he was staying at the same location agents observed Lemley and Mathews enter on

September 15, 2019. Affidavit at ¶ 45.

       Therefore, agents already had all the necessary information to locate the defendant.

Nothing in any of the affidavits spanning from October 18, 2019 through December 13, 2019




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indicated that Mathews intended to accomplish anything but reside in the United States and find

a job in construction. See Affidavit from 11-8-19 at ¶ 79.

       6.      Probable cause did not exist to show that Mr. Mathews’ phone or email accounts

would show violations of 18 U.S.C. § 2101 (Inciting a Riot); 18 U.S.C. §§ 371 and 249

(Conspiracy to Commit and Attempt to Commit a Hate Crime); or 21 U.S.C. § 841 (Distribution

of Controlled Substances). Existing evidence led agents to discover Mr. Mathews’ location and

they knew he was an illegal alien and could have arrested him.

   A. The Affidavits Failed to Provide Probable Cause Under 18 U.S.C. §§ 2101, 371 and
      249 Because the Statements Made Were Free Speech and Did Not Lead to Imminent
      Violence.

       The search affidavit information describing statements by other members of the Base in

the Base group chat and Nazzaro’s past Twitter and Gab posts fail to support probable because

such statements are constitutionally protected free speech. “The Brandenburg test precludes

speech from being sanctioned as incitement to riot unless (1) the speech explicitly or implicitly

encouraged the use of violence or lawless action, (2) the speaker intends that his speech will

result in the use of violence or lawless action, and (3) the imminent use of violence or lawless

action is the likely result of his speech.” Bible Believers v. Wayne Cty., Mich., 805 F.3d 228, 246

(6th Cir. 2015) (en banc).

       In the current affidavits, the government selected Rinaldo Nazzarro’s most explicit

Twitter and Gab posts over a two-year span to show that he intended to incite violence, despite

the fact that no evidence suggests actual imminent violence resulted from these posts. Affidavit

at ¶ 20-21. Additionally, the affidavits selected the most dangerous sounding statements from the

approximate fifty-person group chat to quote members such as “Rimbaud” who stated, “I'm all


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about violence, but I want to gather with people and plan something out ... Maybe some form of

bombing, or something a bit more destructive.” Affidavit ¶ 18.d.i. Even such extreme statements

like this one clearly fail to meet the imminence requirement of Brandenburg and likely also fail

under actual incitement of violence.

       Further, the government cherrypicked the most inflammatory statements in the affidavits,

while excluding the countless times Nazzaro and others told members of the Base not to do

anything illegal. Recently in Nwanguma v. Trump, the Sixth Circuit assessed whether President

Trump intended to incite a riot when he exclaimed, “get ‘em out of here[,]” referring to

protestors at a political rally. 903 F.3d 604, 608 (6th Cir. 2018). In this case, it was argued that

Trump’s statement was likely to result in the imminent use of violence because the protestors

that were surrounded by a hostile crowd who promptly assaulted them. Id. at 610. Ultimately, the

court found, “As to how the offensive words were said, we know, most relevantly, by plaintiffs'

own allegations, that the words were accompanied by the admonition, ‘don't hurt 'em.’ That this

undercuts the alleged violence-inciting sense of Trump's words can hardly be denied.” Id. at 612.

       In the present case, the statements made by other members of the Base were not likely to

result in imminent violence and fail Brandenburg on that alone. Additionally, the most vile

statements were included, while numerous mitigating statements discouraging violence and

illegal activity were excluded from the affidavits.

       To present probable cause that the search of Mr. Mathews’ phone and email accounts

would provide evidence of conspiracy to commit a hate crime or incite riots, the government

would at the very least need to show probable cause that the Base had imminent intent to commit

such crimes, which was not revealed in the affidavits. Therefore, statements made by Base


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members in the group chat and Nazzaro’s social media posts fit squarely in the category of

constitutionally protected free speech.

   B. Inflammatory Statements Made by Other Members of the Base Chat Group Fail to
      Provide Probable Cause for Why Mr. Mathews’ Phone and Email Accounts Were
      Likely to Provide Evidence of a Crime.

       The inflammatory statements presented in the affidavits were cherrypicked from a broad

group chat that included approximately fifty members. While people could speak freely in the

main chat, many of the members of the group did not even know or communicate with many of

the other members. Given, the Base was designed to be decentralized into smaller local groups,

the main chat provided an atmosphere where members could essentially post anything to anyone

and new unvetted members would come and go. There is no evidence that Mr. Mathews even

spoke with or knew “Rimbaud” or Pouli” who were cited in the affidavits as making some of the

most inflammatory statements.

       To allow the government to authorize the tracking of phone and email accounts, merely

on the basis that other people in the same chat group made hateful statements (which were often

for the purpose of bragging and one-upping each other) overextends the government’s power to

intrude on individual privacy in violation of the Fourth Amendment and creates serious First

Amendment issues. This would be akin to allowing the search of every person’s email accounts,

based on the statements of one person on a large listserv. There is no evidence that Patrik

Mathews even read the conversations between “Rimbaud” and “Pouli” or Nazzarro’s Twitter

posts from years ago. This information is extraneous and has no connection to the defendant or

why his phone and email accounts would likely contain evidence of the crimes listed in the

warrant applications.


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       Accordingly, the government’s assertation that evidence of intent to incite riots, commit

hate crimes, or distribute controlled substances is too attenuated and disconnected from Mr.

Mathews to have substantive value in generating probable cause. No individual excerpts from the

defendant’s statements made in the Base chat group were included in these warrant affidavits.

While information obtained from the defendant’s phone and email accounts could potentially

show that he was being harbored, such evidence was not necessary, given the government

already had a picture of Mr. Mathews in Mr. Lemley’s truck taken on September 14, 2019 and

identified the fact that Mr. Mathews was dropped off in Macon, Georgia on September 15, 2019.

Affidavit pp. 26-27; 29.

       Evidence obtained from these warrants should be suppressed because the affidavits failed

to provide probable cause that Mr. Mathews’ phone and email accounts would provide evidence

of the suspected crimes listed in the affidavits. The statements from other Base members in a

broad group chat and Nazzaro’s personal Twitter posts are (1) constitutionally protected free

speech and (2) are too attenuated and disconnected from Mr. Mathews to lead a reasonable

officer to believe evidence of these crimes would be discovered through the search of his phone

and email accounts. If such attenuated evidence were allowed to support search and location-

tracking warrants, this would greatly expand government power, while limiting privacy rights

under the Fourth Amendment. Such precedent could lead to the search of all members of large

Facebook or other social media groups based on the statements of one or two unknown

participants, leading to serious infringements of the First and Fourth Amendments.

       7.       Accordingly, the search affidavits were so deficient that no objectively reasonable

officer could have relied in good faith on the legality of the search warrant. See United States v.


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Leon, 468 U.S. 897, 923 (1984) (when warrant is “so lacking in indicia of probable cause as to

render official belief in its existence entirely unreasonable” it cannot be relied upon in good faith)

(quotation omitted).

       8.      Mr. Mathews respectfully requests that this Court issue a pre-trial ruling barring the

government from admitting at trial evidence obtained in connection with the unlawful search

warrants.




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       WHEREFORE, the defendant requests that this Court grant an Order of Suppression on

the grounds alleged herein and any other ground that may become apparent upon a hearing on the

motion.




                                           Respectfully submitted,



                                                         /S/

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                                  REQUEST FOR HEARING


       Pursuant to Rule 105.6 of the Local Rules of the United States District Court for the District

of Maryland, the defendant requests a hearing on this motion.



                                                                        /S/
                                                      _________________________________
                                                      JOSEPH A. BALTER        #04496




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